Qse

\/

WQ-cv-OOGl. Documentl Filed 04/03/09 |.e lof7 Page|`D 1

‘,/~, 3 IN 'I`HE UNITED STATES DISTRICT COURT

. - "\ ") ~T nicrr.oun‘i‘
§\1 "’LV“Q “ FOR THE DISTRI‘“N(()§%§;§§§§TMCT oF‘raxAs
~ , t ,{,\ DIVISI:) FB

 

/
3< co c _, _ a
1 \> l _ Form To Be Used By A Prisoner in Filmg a Complaint
" Under the Civii nights Act, 42 U.s.c. § 1983 APR 3 2009

. il ,. jt C m
SZZS~V_QZMM/QQ§/ CL%!;K,B.:,.`“YTMCT ou

Plainti;ff’ s name and lI) Number tiepury

{%…Vaosc‘voeia., K

CASE NO:

 

 

 

 

 

 

 

 

(Clerk will assign the number)

g ii dam 2 22 g §7;;:§£

Defendant’s name and address

watt said aaa aaa

Det`en dant’s name and address

_ ' n //O
` efendant’s name and address
(DC> NOT US_E “ET AL.”)

INSTRUCTIQNS - READ CAREFULLY

NOT]CE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

l. Tc) start an action you must tile an original and one copy of yo r complaint with the court. You should keep a
copy of the complaint for your own records

2. Y<)ur complaint must be’l_egibly handwritten in ink, or typewritten You, the plaintiff, must sign and declare
under penalty ct perj ‘~ry that the facts are correct It` you need additional space_, DO NGT USE THE
REVERSE SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND
WRITE ON.IT.

3. Y`ou must file a separate complaint for each claim you have unless the various claims are all related to the
SEune incident or issue or are all against the same de fendant,l‘ ule 18, Federal Rules of Civil Procedure Make
a short and plain statement of your claim Rule 8 F ederal Rules of Civil Procedure.

4. Men these forms are completed, mail the original and one copy to the Clerl< of the United States Couit for
the appropriate District of TeXas in the Division where one or more named defendants are located, or where
the incident giving rise to your claim for relief occurred The list labeled as “VENUE LIST” is posted in your
unit law library. lt is a list of Texas prison units indicating the appropriate Distric_t Court, the Division and an
address of the Divisional Clerks.

 

T)n,.,` 1 ,\FC

 

Case 3:09-cv-0061‘ Document 1 'Fi|ec| 04/03/09 |.e 2 of 7 PagelD 2
FILING FEE AND IN FORMA PAUPERIS 4

l. ln order for your complaint to be filed, it must be accompanied by the filing fee of $350.00.

If you do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
proceed in forma pauperis In this event you must complete the application to proceed in forma pauperis
(IFP), setting forth the information to establish your inability to prepay the fees and costs or give security
therefore You must also include a six (6) month history of your himate l` rust Account. You can acquire the
application to proceed IFi"' and app1;" riate annate Account Certificate from the law library at your prison

unit.

l\.)

. 3. 28 U.S.C. 1915, as amended by the Prison Litigation Reforrn Act of 1995 (PLRA), provides, “. . .if a prisoner
brings a civil action or files and appeal in forma pauperis, the prisoner shall be required to pay the full
amount of a filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the entire filing
fee or an initial partial filing fee and monthly installments until the entire amount of the filing fee has been
paid by the prisoner If you submit the application to proceed in forma pauperis, the Court will apply 28
U. S C 1915 and, if appropriate, assess and collect the entire filing fee or an initial partial filing fee, then
monthly installments from your Inmate Account, until the entire $_3__50 filing fee has been paid. '

4. lf you intend to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of lnmate Trust Account. Complete all the essential paperwork before
submitting it to the Court. `

It is your responsibility to inform the Court of any change of address and its effective date. Such notice
should be marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any
motions(s_`) for any other relief. Failure to file a N()TI_C`E TO I`HE COURT OF CHANGE OF ADDRESS may
result in the dismissal of your complaint pursuant to Rule 4l(b), Federal Rules of Civil Pr¢)cedures.

I. PRE\'IOUS LAWSUITS:

A. Have you filed any other lawsuits in the state or federal court relating to/
1 imprisonment‘? \ _ YES ’ NO

B. If your answer to “A” is yes, describe each lawsuit in the space below. (lf there is more than one lawsuit,
describe the additional lawsuits on another piece of pap:i:r, giving the same information.)

i. Approximate date of filing lawsuit w '

21 §§;edsf;psprevious lawsuit %///4'

- Defendant(s): j/I//¢ v
3. Court (lf federal, name the district; if state, name the county) ////%
4. Docket Number: . /W///%{

5. N'arne of judge to whom case was assigned: ,W

Disposition; (Was the case dismissed, appealed, still pending?)

/W//r”

. f q
Approximate date of disposition: W

‘|‘\,1.`._ "\ ,`L`C

 

 

 

Case 3:09-cv-0061* Document 1 Fi|eo| 04/03/09 |Qe 3 of 7 PagelD 3

ir. PLACE oF PRESENT CoNFINEMEer %M<//¢,/L /,}/?;%é/ W/%//ZZ:W

III. EXHAUSTION OF GRIEVANCE PROCEDURES: d .
Have you exhausted both steps of the grievance procedure in this institution? YES /NO

Attach a copy of the Step 2 grievance with the response supplied by the prison system.

IV. PAR'I`IES TO 'l`HE SUI.T:

ix Name of address of plaintiff: /Z///%

 

B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #l: __£(M [ ZQ£ g 2 ;//Z )ZZQZ &¢Z;l_ ;_'Z: S¢Z£ MAZZ
j 7'/////7

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

/%1/.5"/¢£/</ MJ///VI j£/A//?€A_J MZ€ /,‘/;’ %/(L dJ/j%z¢/& marjka

Defendant #2: _C?A¢§§ g ¢;(&L;l §§ ([Q:§:(:CY ,Cd€/ ll Aj W¢S//”/j //&i/;!

/77/ 74£”¢

 

   
  

Briefly describe the act(s) or omission(s) of this defendant, which you claimed banned you.

_[{

Defendant #3:

 

 

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

 

Defendant #4:

 

 

Brie.fly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

 

Defendant #5 :

 

 

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

 

 

 

Case 3:09-cv-006.< Document 1 Fi|eo| 04/03/09 .Je 4 of 7 PagelD 4

V. STATEMENT OF CLAIl\/l:
State here in a short and plain statement the facts C)f your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Descril;)e how each defendant is involved. You need not give any
legal argument or cite any cases of statutes If you intent to allege a number of related claims, number and set
forth each claim in a separate paragraph Attach extra pages if necessary, but remember that the complaint
must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STR[KE YOUR

COMPLAINT.
name s)a\»re seventeen tie read marie ss awaiting ministerial

It\')c rf¥ere/L, Cnri@t<;r(il<» Mvilw\mmret.% to women z irene

M© mst M\t P\\Q\+r oi>e>\i\,e€;e®te@ee aes cmero)ueu§eo

otseo@sr\eem(s ease r<oer ser@ar\ item eet><>ew@@\
T\\~e I)\‘I;Yuc)s; we decemth ;1_:»\1@1~»<€>eerel WWMU\IT.I

owe ReHo\/c»:o time rise Pl®eieatl 5<~:1\)1~ ~ro wheat co rate

two secrecy seas dereer wch rs purse \J eewtet\)e&;.

w /V/A/L§

 

 

 

 

VI. RELIEF: State briefly exactly'what you Want the court to do for you. l\vlal<e no legal arguxrients. Cite not
cases or statutes `

£g" mem-1015 N€b\m»er@~ewt#\€\ir two @AW€M'!’ f:<>@~ l

PA\_A §'usrt:€¢lrm\`ee Me»~£\~ai, i’»A\~lEM\‘SH- we ‘DE:FMP.T¢Q~¢\\ <>FQMM\%@,
VII. GENERAL BACKGROUND INFORMATI(_)N: '

A. State, in complete fonn, all names you have ever used or been known by including any and all aliases:
B. List all TDCJ- ID identification numbers you have ever been assigned and all other state or federal prison
or FBI numbers ever assigned to you, if know to you.

/r/r

l v , ' __

l

A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES %

B. If your answer is “yes”, give the following information for every lawsuit in which sanctions were

imposed (lf more than one use another piece Of paper and answer the same questij/s./)¢

,__
(
C>
$I

 

' Case Number: ”z//?

Approximate date sanctions were imposed: /Z//%OF »
Have the sanctions been lifted or otherwise Satisfied? YES ' z NO

 

.4>~.°’!\°

A'r'n ~< ~rv\ /v-\ na¢nr\ T`l,_,_, A ~ff

 

 

Case 3:09-cV-006.< Document 1 Filed 04/03/09 de 5 of 7 Page|D 5
C. Has any court ever warned or notified you that sanctions could be imposed? YES (%O

D. If your answer is “yes”, give the following information for every lawsuit in which warning was imposed
(lf more than one, use another piece of paper and answer the same questions.)

 

 

l. Court that imposed warning (if federal, give the district and division): j{/i%
2. Case number %//%
3. Approximate date warning/ were imposed: /7{/%

 

Executed on:

 

(Date) *- . (Printed Name)

 

(Signature of Plaintiff)
PLAINTIFF’S DECLARATIONS

l. I declare under penalty of perjury all facts presented in this complaint and attachment thereto are true and
correct.

l understand ii l am released or trans erred, it .s my re~,*"\r‘"‘l“l ty ti keep the Court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit

1\\,

L)J

l understand that l must exhaust all available administrati rei~‘ edies prior to filing this lawsuit

4. I understand I am prohibited from bringing an in forma pauperis lawsuit if I have biought three or more
civil actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits -
are dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief
may be granted, unless l am under imminent danger or serious physical injury.

5. l understand even if l am allowed to proceed without prepayment of costs, I am responsible for the entire

$350 filing fee and costs assess by the Court, which shall be deducted in accordance With the law from the
inmate account by my custodian until the filing fee is paid

tSigne<uhiS _r£j___ day Ofs_jQzQz/Q.¢z;_-, 20 jj_

(Day) (Montli) 7 (Year)

` j/%/z///r //M/

(Printed Name)

(Signature of Plaintiff)

WAR§\IING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
respo§ise to the following questions will result in the imposition of sanctions The sanctions the Court may
impos einclude, but are not limbed to monetary sanctions and/or the dismissal of this action With prejudice. `

 

 

 

 

ERNEST B. WHITE, III
Judge Presiding’

l‘?4tb ludicio| District Court
Fronk Crow|ey Couris Building
133 Norih |n<:lusirioi| Bou|evord - LB 26
Dol|os, Te)<os 75207
(214) 653-5800

Reonn F|eming Belindo G. Boroko
Court Coorc|incn‘or Court Reporter

March 19, 2009

The United States District Court
For the Northern District of Texas
Clerk’s Office-Dallas

1100 Commerce Street, Room 1452
Dallas, TX 75242

RE: Steven Ward v. Cenikor
Dear Clerk:
Please find enclosed a civil rights complaint received by my court filed by Steven Ward.

It appears by the form that Mr. Ward’s intention Was to file this complaint in your court. I
would respectfully request that you handle it accordingly

    

‘4th District Court
Dallas County, Texas

cc. Steven Ward #1521644, Forrnby Unit, 998 County Road AA, Plainview, Texas 79072

encl.

 

 

Case 3:09-cV-00618-K Document 1 Filed 04/03/09 Page 7 of 7 Page|D 7

 

.HCUGH NWZHMH W. <<~:.Hm,¢ ~:
__©Yr .:_&Se_ U;SQ Oc::

never 03<<_3\ GO:RM wc:&:m_

_mw 235 ~sd:,£§~; E<@. :w mo
Ue:mw, HQ§@ dwo`\-p.:w

._.:m C::ma m§mw U_m£o» Ooc;

_uo~ gm zo:_,_mB Qw§o» 94 memm
O_m;»_w Om_om-©m=mm

icc 0033@3® mcmer DOOB imm
Om__mm_ memw §th

“.:U ...N.W `~w»:w~_m~wm-`~w~`~;m-- ~:_Mw.»_`~.::w:.m:.:%_`.~m.;*-`?~“m:`

 

 

 

 

